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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


RAMON DICKERSON; TONI
DUPLANTIS; BRITNEY
SINGLETARY; DARLANE
SARACINA; ARMONDO
VILLANUEVA; SIMONE
ROLLOCK; and MARY SMITH,
individually and on behalf of
themselves and all others similarly        CIVIL ACTION FILE
situated,
                                           NO. 1:21-CV-2098-MHC
       Plaintiffs,

V.




COLONIAL PIPELINE COMPANY
and DOES 1-100,

       Defendants.



                                    ORDER

      This case comes before the Court on Defendant Colonial Pipeline Company


("ColoniaF'ys Motion to Dismiss [Doc. 44] and Motion to Strike Class Allegations


[Doc. 45].
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I. BACKGROUND1

      Colonial operates the Colonial Pipeline, an oil pipeline that stretches 5,500

miles on the East Coast of the United States and carries nearly half of the East

Coast's fuel supply. Pis.5 Second Am. CompL ("SAG") If 1. On May 7,2021,a


ransomware attack penetrated Colonial's billing software; in response to the


cyberattack, Colonial shut down pipeline operations which decreased the supply of

gasoline and other fuel products to much of the East Coast of the United States and

caused the price of gasoline to rise. Id ^ 2-3, 36. The Federal Bureau of


Investigation ("FBI") was notified of the ransomware attack the same day. Id.


If 43. On May 10, 2021, the FBI confirmed that Colonial had been hacked. Id,

^ 48. Colonial subsequently made a $4.4 million ransomware payment to the




 Because this case is before the Court on a motion to dismiss, the facts are
presented as alleged in Plaintiffs' Second Amended Complaint [Doc. 40], the
operative complaint in this case. See Silberman v. Miami Dade Transit, 927 F.3 d
1123,1128 (11th Cir. 2019) (citation omitted).

2 "Ransomware is an ever-evolving form ofmalware designed to encrypt files on a
device, rendering any files and the systems that rely on them unusable. Malicious
actors then demand ransom in exchange for decryption." IcL ^ 37 (citing the
description ofransomware by the Cybersecurity & Infrastructure Security
Agency).
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perpetrators of the hack. Id. Colonial restarted the pipeline on May 12, 2021. Id.

If 49.

         Plaintiffs are individuals who purchased gasoline at retail and paid higher

prices as a result of Colonial's shutdown. Id. ^ 8-20. Plaintiffs concede they did


not purchase their gasoline directly from Colonial, but rather from gas station


retailers, and refer to themselves as Colonial's "downstream consumers." Id. ^ 8-


20, 112. Plaintiffs bring this action on behalf of themselves and all others similarly

situated against Colonial and other anonymous subsidiaries (collectively,


"Defendants") which may be responsible for the alleged conduct. ]A ^ 1, 21-23.


Plaintiffs' Second Amended Complaint asserts six claims: negligence under state


law (Count I); declaratory judgment pursuant to 28 U.S.C. § 2201 (Count II);

violations of the North Carolina Unfair and Deceptive Trade Practice Act

("NCUDTPA") pursuant to N.C. Gen. Stat. § 75-1.1 (Count HI); breach of public

duty pursuant to O.C.G.A. § 51-1-7 (Count IV); public nuisance under state law


(Count V); and unjust enrichment under state law (Count VI)3.




3 The SAG mistakenly labels the unjust enrichment claim as Count IV instead of
VI; however, the Court will refer to the unjust enrichment claim as Count VI.
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II. LEGAL STANDARD

      Federal Rule of Civil Procedure 8(a)(2) requires that a pleading contain a

"short and plain statement of the claim showing that the pleader is entitled to

relief." FED. R. Civ. P. 8(a)(2). While this pleading standard does not require

"detailed factual allegations," the Supreme Court has held that "labels and


conclusions" or "a formulaic recitation of the elements of a cause of action will not


do." Ashcroft v. Iqbal, 556 U.S. 662, 678 f2009) (quoting Bell Ati. Corp. v.


Twombly, 550 U.S. 544, 555 (2007)). Under Federal Rule of Civil Procedure

12(b)(6), a claim will be dismissed for failure to state a claim upon which relief

can be granted if it does not plead "enough facts to state a claim to relief that is

plausible on its face." Twombly, 550 U.S. at 570. The Supreme Court has


explained this standard as follows:

      A claim has facial plausibility when the plaintiff pleads factual content
      that allows the court to draw the reasonable inference that the defendant
      is liable for the misconduct alleged. The plausibility standard is not
      akin to a "probability requirement," but it asks for more than a sheer
      possibility that a defendant has acted unlawfully.

Ashcroft, 556 U.S. at 678 (internal citation omitted). Thus, a claim will survive a

motion to dismiss only if the factual allegations in the pleading are"enough to

raise a right to relief above the speculative level." Twombly, 550 U.S. at 555.
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      At the motion to dismiss stage, the court accepts all well-pleaded facts in the


plaintiffs complaint as true, as well as all reasonable inferences drawn from those


facts. McGinley v. Houston, 361 F.3d 1328, 1330 (11th Cir. 2004); see also

Lotierzo v. Woman's World Med. Ctr., Inc, 278 F.3d 1180, 1182 (11th Cir. 2002).

Not only must the court accept the well-pleaded allegations as true, but these


allegations must also be construed in the light most favorable to the pleader.

Powell v. Thomas, 643 F.3d 1300, 1302 (11th Cir. 2011). However, the court need

not accept legal conclusions, nor must it accept as tme legal conclusions couched


as factual allegations. Iqbal, 556 U.S. at 678. Thus, evaluation of a motion to


dismiss requires the court to assume the veracity ofwell-pleaded factual


allegations and "determine whether they plausibly give rise to an entitlement to

relief." Id, at 679.


III. DISCUSSION

       Colonial seeks to dismiss the SAG in its entirety. Mem. in Supp. ofDef.


Colonial Pipeline Company's Mot. to Dismiss ("Def.'s Br.") [Doc. 44-1]. Colonial


contends that Plaintiffs' state law claims are preempted by federal law and that the

filed rate doctrine bars all of Plaintiffs' claims. Id. at 10-18. Colonial also argues


that each claim fails on substantive grounds. Id. at 18-41. As discussed below,


because the Court determines that none of the six counts in the Second Amended
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Complaint states a substantive claim upon which relief can be granted, the Court


need not consider Colonial's preemption or filed rate doctrine arguments.


      A. Count I - Negligence


      Count I of the SAG alleges that Colonial is liable for negligence because of a

duty of care it owed to Plaintiffs. SAG ^ 62-75.4 The parties do not dispute that

Georgia law applies to the negligence claim. To state a claim for negligence under


Georgia law, a plaintiff "must plead facts sufficient to establish: (1) a legal duty of

the defendant; (2) breach of that duty; (3) damages; and (4) a causal connection

between the defendant's breach and the plaintiffs damages." Edwards v. Wis.


Pharmacal Co., LLC, 987 F. Supp. 2d 1340, 1344 fN.D. Ga. 2013) fciting Berry v.


Hamilton, 246 Ga. App. 608 (2000)). Dismissal of Count I is warranted for two

reasons: (1) the SAC fails to allege a legally cognizable duty, and (2) the economic

loss doctrine applies.


             1. The SAG Fails to Allege A Legally Cognizable Duty.

      Plaintiffs allege three duties as the basis for their negligence claim: (1) a

duty as a public utility to continually provide services, SAG ^ 33-34, 62, 67; (2) a



4 The Court notes that the SAG erroneously numbers Paragraphs 62-74 twice, once
in the factual allegations of the SAC on pages 19-23 and a second time in Count I
on pages 24-25. In this section, the Court refers to the second set of Paragraphs
62-74 included within Count I on pages 24-25 of the SAG.
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duty to use reasonable means to safeguard Defendants' systems which Defendants


assumed by delivering a critical commodity, I(L ^ 64; and (3) a duty to comply with

industry standards, id. ^ 65-66. Plaintiffs attempt to expand upon the basis of the

duty supporting their negligence claim in their brief, adding a fourth and fifth duty:

(4) a duty to safeguard consumers' private information, and (5) a duty based upon

Plaintiffs' special relationship of dependence with Colonial. Pis.5 Mem. in Opp'n


to Def.'s Mot. to Dismiss ("Pis/ Resp.") [Doc. 50] at 26-29.


       "The existence of a legal duty is a question of law for the court." Rasnick v.


Krishna Hosp., Inc., 289 Ga. 565, 567 (2011). "In the absence of a legally


cognizable duty, there can be no fault or negligence." Ford Motor Co. v. Reese,


300 Ga. App. 82, 84 (2009) (citation omitted). "A motion to dismiss should be

granted when a plaintiff fails to allege any cognizable statutory or common law

duty." Heath v. ILG Techs., LLC, No. 1:20-CV-3130-TWT, 2020 WL 6889164,at


* 10 (N.D. Ga. Nov. 24, 2020) (internal quotations and citations omitted).


                    a. Duty to Continually Provide Service


      First, Plaintiffs allege that Colonial functions as a public utility and therefore

has a duty to provide continual service. See, e.g., SAG ^ 34 ("The Colonial


Pipeline, like an electric company or a gas company, functions as a public utility


and thus has a public duty imposed upon it to continually provide semce."), ^ 67


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("[T]he Defendants also owed a duty to Plaintiff and the Class not to shut down the

pipeline - when it did not need to do so - to ensure the availability of the critical

fuel supply."). "A legal duty sufficient to support liability in negligence is either a

duty imposed by a valid statutory enactment of the legislature or a duty imposed by

a recognized common law principle declared in the reported decisions of

[Georgia's] appellate courts." Sheaffer v. Marriott Int'l, 349 Ga. App. 338,340

(2019) (citations and punctuation omitted). Plaintiffs fail to cite to any statutory

provision that could be constmed to impose any legal duty upon Colonial.


       Since there is no duty imposed by any alleged statutory enactment, a duty


can only exist if supported by some common law principle. First Fed. Sav. Bank


ofBmnswick v. Fretthold, 195 Ga. App. 482, 484 (1990). Plaintiffs only include a

single sentence in their response that is related to Colonial's alleged duty to


provide continual sendces: "Here, Plaintiffs allege that owning [Critical

Infrastructure] used from the transportation or distribution of refined fuel products


involves a sufficiently high degree of danger to trigger Colonial's duty to exercise

reasonable care in the operation and maintenance of the Pipeline." Pis.' Resp. at


25 (citing SAC ^ 67). Nothing in Plaintiffs' response references any common law

duty for Colonial to maintain uninterrupted sendce. Thus, Plaintiffs "failed to

allege any cognizable statutory or common law duty that [Colonial] allegedly
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breached." JPMorgan Chase Bank, N. A. v. Durie, 350 Ga. App. 769, 772 (2019)


(finding that the trial court erred by denying the motion to dismiss a negligence

claim); see also Lincoln v. Fla. Gas Transmission Co. LLC, 608 F. App'x 721, 723


(11th Cir. 2015) (dismissing a negligence claim because the plaintiff failed to

allege any facts that gave rise to any duty owed to the plaintiff by Florida Gas

Transmission Company).5


                    b. Duty Through Voluntary Undertaking

      Next, Plaintiffs allege that

      By accepting the duty to deliver a critical commodity and to protect the
      pipeline in order to keep it running, Defendants had a duty of care to


5 The Court also notes that Defendants argue that Colonial is not a public utility.
See Def.'s Br. at 1, 11-12 (citing Williams Pipe Line Co., Opinion No. FERC
If 61,260, at 61,584 (1982)) ("Oil pipeline rate regulation is not a consumer-
protection measure. It probably was never intended to be."); id. at 61,655 ("In oil
pipelining, however, we have a very special situation. There are no 'consumers'
here. The lines are used solely by business enterprises. Hence the clash between
shipper and carrier differs fundamentally from the clash between utilities and their
customers."). Plaintiffs fail to respond to this portion of the motion, indicating it is
unopposed. See Kramer v. Gwinnett Cnty., 306 F. Supp. 2d 1219, 1221 (N.D. Ga.
2004) ("[A] party's failure to respond to any portion or claim in a motion indicates
such portion, claim or defense is unopposed."). Indeed, the United States Court of
Appeals for the District of Columbia has expressed reservation to categorizing oil
pipelines as public utilities: "we may infer a congressional intent to allow a freer
play of competitive forces among oil pipeline companies than in other common
carrier industries and, as such, we should be especially loath uncritically to import
public utilities notions into this area without taking note of the degree of regulation
and of the nature of the regulated business." Farmers Union Cent. Exch. v. FERC,
584 F.2d 408, 413 (D.C. Cir. 1978).
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      use reasonable means to secure and safeguard its computer systems and
      gasoline transmission operations. Defendants' duty includes a
      responsibility to implement necessary processes by which it could
      prevent and/or detect a breach of its computer systems in an expeditious
      manner, as well as to give prompt notification about the existence of a
      random where attack, if one would take place.


SAC ^ 64. Plaintiffs' allegation constitutes their contention that Colonial's duty

arises based upon the voluntary undertaking doctrine, which states that


      one who undertakes to do an act or perform a service for another has
      the duty to exercise care, and is liable for injury resulting from his
      failure to do so, even though his undertaking is purely voluntary or even
      though it was completely gratuitous, and he was not under any
      obligation to do such act or perform such service, or there was no
      consideration for the promise or undertaking sufficient to support an
      action ex contractu based thereon.


Osowski v. Smith, 262 Ga. App. 538, 540 (2003) (citation and quotation omitted).

Colonial argues any attempt to create a duty under the voluntary undertaking


doctrine "fails because Plaintiffs allege no physical harm, a fundamental

requirement under the doctrine." Def.'s Br. at 27 (citing In re Equifax, Inc.,


Customer Data Sec. Breach Litig., 362 F. Supp. 3d 1295, 1326-27 (N.D. Ga.


2019)). Once again, Plaintiffs do not respond to this argument, and it is therefore

unopposed. See Kramer, 306 F. Supp. 2d at 1221.


      Georgia law clearly provides that no duty is created under the voluntary


undertaking doctrine when the plaintiffs fail to allege that they have suffered

physical harm. See Willingham v. Glob. Payments, Inc., No. 1 : 12-CV-01157-

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RWS, 2013 WL 440702, at *18 (N.D. Ga. Feb. 5, 2013) ("Plaintiffs do not allege

that they have suffered physical harm; therefore, they cannot state a negligence


claim based on the voluntary undertaking doctrine.") (citing Huggins v. Aetna Cas.


& Sur. Co., 245 Ga. 248 (1980)). Plaintiffs plead economic harm, but their Second

Amended Complaint is devoid of any allegation of physical harm. See, e.g., SAG

1^19, 11, 13,15, 17, 19, 20 (alleging Plaintiffs incurred a financial injury because

they had to pay a higher price for gas at retail), <| 67 (alleging Plaintiffs were

"harmed in being unable to get gas and when it was available, paying a much


higher price for it than they otherwise would have if the pipeline had continued to

function."). Because they fail to allege any physical harm, Plaintiffs' allegation

that Colonial's voluntary undertaking established a duty that supports their

negligence claim fails as a matter of law.


                    c. Duty Through Industry Standards


      Next, Plaintiffs allege that Colonial "owed a duty of care to use security


measures consistent with industry standards [,]" and that the "duty to use


reasonable care in protecting its systems . . . arose because the Defendants are


bound by industry standards to protect itself from ransomware attacks." Id. ^ 65-


66. Colonial argues that industry standards may be probative of breach but that


industry standards do not establish a legal duty. Def.'s Br. at 27. Again, Plaintiffs


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provide no Georgia statutory or common law authority for the proposition that

industry standards impose a duty of care to protect against cyberattacks generally,


nor do they provide support that the particular industry standards they allege have

been recognized by Georgia courts.6


      Under Georgia law, showing a violation of industry standards does not

conclusively establish any duty. Kraft Reinsurance Ireland, Ltd. v. Pallets


Acquisitions, LLC, 845 F. Supp. 2d 1342, 1353 (N.D. Ga. 2011) ("Evidence

showing a violation of 'privately set guidelines' for industry standards is


admissible and probative of negligence, but does not conclusively establish

negligence or duty owed."). Thus, Plaintiffs' allegations that industry standards


pertaining to cybersecurity establish a duty owed to them fails. See Spearman v.


Ga. Bldg. Auth., 224 Ga. App. 801, 803 (1997) (noting that industry violations can

be illustrative of negligence but do not establish negligence); Manley v. Gwirmett

Place Assocs., 216 Ga. App. 379, 380 (1995), overruled on other grounds by




6 Plaintiffs cite a South Carolina case for the proposition that there exists a
corporate legal duty to protect third parties from cyberattacks and ransomware.
Pis.' Resp. at 26 (citing In re Blackbaud, Inc., Customer Data Breach Litig., No.
3:20-MN-02972-JMC, 2021 WL 4866393 (D.S.C. Oct. 19, 2021)). Blackbaud is
not binding on this Court and is distinguishable from this case because the claims
involved an entirely different subject matter - the privacy of personal customer
information. Blackbaud, 2021 WL 4866393, at *8.


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Floumov v. Hosp. Auth. of Houston Cnty, 232 Ga. App. 791 (1998) ("No legal

requirement exists that the ramp comply with these [industry] standards, and

violation of such privately set guidelines, although admissible as illustrative of

negligence, does not establish negligence."); Sheppard v. CSX Transp., Inc., 78 F.


App'x 878, 883 n.6 (4th Cir. 2003) ("Sheppard also claims that CSX's safety

manuals created a duty of reasonable care towards third parties. Although Georgia


law does allow safety manuals to serve as evidence of negligence ... no Georgia


case has held that safety manuals, by themselves, create a duty of reasonable care


to third parties.").


                       d. Duty to Safeguard Consumers9 Private Information


       In their response, Plaintiffs cite a plethora of Georgia cases which deal with

data breaches that exposed the personally identifiable information of consumers,


which is not the alleged injury that occurred in this case. See Pis/ Resp. at 26-28.

It is unclear if Plaintiffs intend this to be an argument alleging some additional

duty owed by Colonial, or if these cases are cited in support of Plaintiffs' industry

standards argument. In either event, this argument fails. Pretermitting an analysis


of whether there is a duty to safeguard personal information7, this Court finds that




 On this topic, the Eleventh Circuit has questioned "the existence under Georgia
law of an independent common law duty to 'safeguard and protect . . . personal
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"such a duty would not be implicated in this case, as [Colonial is] not alleged to

have negligently safeguarded any of [Plaintiffs'] personal information." Murray,

798 F. App'x at 492. In fact, Plaintiffs concede that Colonial had nothing to do

with their personal information. Pis.' Resp. at 27 ("Colonial did not handle

Plaintiffs' private information . . . .").


                     e. Duty Through Special Relationship

       Plaintiffs5 response also attempts to allege an additional duty that is not

referenced by allegations in the SAG: "Plaintiffs alleged facts showing that they

are in a relationship of dependence with Colonial because the semces it supplies


are essential, vital, and even necessary to their livelihoods." Id. at 28-29.


       In Georgia, the scope of any "special relationship" giving rise to a legal duty

concerns the duty under the "public duty doctrine" owed by a government unit and


a particular citizen. City of Rome v. Jordan, 263 Ga. 26, 28-29 (1993). That


doctrine has been limited in application to situations involving the duty owed by a

government entity "to provide police protection to individual citizens." Dep't of


Transp. v. Brown, 267 Ga. 6, 8 (1996). Regardless, the SAG fails to include any


allegations of dependence which would result in a duty owed by Colonial to



information.'" Murray v. ILG Techs., LLC, 798 F. App'x 486, 492 (11th Cir.
2020) (quoting Dep't of Labor v. McConnell, 305 Ga. 812, 828 (2019)).


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Plaintiffs. Accordingly, the SAG does not support a duty born out of a special

relationship.


      In sum, because Plaintiffs fail to allege the existence of any cognizable


statutory or common law duty owed by Colonial, the motion to dismiss Count I is

GRANTED. Heath, 2020 WL 6889164, at * 10.


                2. The Economic Loss Doctrine Bars Recovery.


      Even if the SAC adequately alleged a legal duty owed by Colonial, the

economic loss doctrine bars Plaintiffs' negligence claim. Plaintiffs assert only


economic injury. See, e.g., SAG ^ 9, 11,13, 15, 17, 19, 20 (alleging Plaintiffs


incurred a financial injury because they had to pay a higher price for gas at retail),

^ 67 (alleging Plaintiffs were "harmed in being unable to get gas and when it was

available, paying a much higher price for it than they otherwise would have if the

pipeline had continued to function."). In Georgia, "the economic loss mle


generally provides that a contracting party who suffers purely economic losses


must seek his remedy in contract and not in tort." Hanover Ins. Co. v. Carroll, No.


L13-CV-01802, 2014 WL 5472520, at *4 (N.D. Ga. Mar. 5, 2014) (citing Gen.



8 Plaintiffs confusingly attempt to argue that they do not allege solely economic
harm and cite cases outside this circuit in which loss of time is deemed to be a
cognizable harm. Pis.' Resp. at 30-31. However, even if those cases were of any
precedential value, the Second Amended Complaint makes no such allegation.


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Elec. Co. v. Lowers Home Ctrs., Inc, 279 Ga. 77, 78 (2005)). "A plaintiff can


recover in tort only those economic losses resulting from injury to his person or


damage to his property." Gen. Elec. Co., 279 Ga. at 78. "Where there is no


accident, and no physical damage, and the only loss is a pecuniary one, through


loss of value ... the courts have adhered to the rule that purely economic interests


are not entitled to protection against mere negligence, and so have denied


recovery." Flintkote Co. v. Dravo Corp, 678 F.2d 942, 946 (11th Cir. 1982)

(collecting Georgia cases).

       "Although it originated in cases involving products liability, the economic

loss rule has been expanded to bar recovery in all negligence-based tort actions


where a plaintiff seeks to recover purely economic losses, regardless of contractual


privity." Johnson v. 3M, No. 4:20-CV-8-AT, 2021 WL 4745421, at *30 (N.D. Ga.


Sept. 20, 2021) (citations and quotations omitted). "[I]n all negligence-based tort

actions where a plaintiff seeks to recover purely economic losses—regardless of


contractual privity—the economic loss rule precludes recovery in the absence of a


duty imposed by law, an accident, or misrepresentation." Murray v ILG Techs.,


LLC, 378 F. Supp. 3d 1244, 1244 (S.D. Ga. 2019), affd, 798 F. App'x 486 (11th

Cir. 2020).

      Despite this growth in applicability, there are instances where the
      economic loss rule does not apply. First, the rule does not bar recovery

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      of purely economic losses in tort actions where the defendant breaches
      a duty imposed by law or arising from a special relationship. See
      Unified Servs., Inc. v. Home Ins. Co, 218 Ga. App. 85 (1995) (tort
      actions permitted where conduct "breaches a duty imposed by law.");
      Bulmer v. S. Bell Tel. & Tel. Co, 170 Ga. App. 659 (1984) ("Absent a
      special relationship, no action for breach of a duty arising from a
      contract exists independent of the contract."); In re Arby's Rest. Grp.
      Inc. Litis, No. 1:17-CV-0514-AT, 2018 WL 2128441, at *12 (N.D.
      Ga. Mar. 5, 2018) ("The independent duty exception to the economic
      loss rule applies in cases where the plaintiff identified a statutory or
      common law duty that would have applied regardless of the existence
      of an underlying contract."); Hanover Ins. Co. v. Hermosa Const. Grp.,
      LLC, 57 F. Supp. 3d 1389, 1396 (N.D. Ga. 2014) ("independent duty"
      exception to the economic loss rule "has been applied in cases where
      the plaintiff identified a statutory or common law duty that would have
      existed absent the underlying contract."). Relationships that will give
      rise to such a "legal duty" include an attorney and client, physician and
      patient, carrier and passenger, or a principal and agent. Bulmer, 170
      Ga. App. at 660. Negligence actions involving such special
      relationship, regardless of contractual duties, are generally allowed
      because the law imposes an independent duty of care. Id.


Id, at 1243-44.


      Plaintiffs allege that the independent duty exception applies because

"Plaintiffs adequately allege the [sic] Colonial has an independent duty to enact

appropriate cybersecurity measures to protect its private information." Pis.' Resp.


at 31. However, the Court has rejected Plaintiffs' argument that (1) the SAG

sufficiently alleges there is a duty to meet industry standards, and (2) that there is a

duty to safeguard Plaintiffs' private information. See Section III.A.l, infra. Thus,


this exception does not apply.


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         Plaintiffs again allege that the special relationship exception applies:

"Colonial is in a special relationship with Plaintiffs as an owner and operator of

[Confidential Information] supplying essential services." Pis.' Resp. at 32. The


sole case relied on by Plaintiffs to demonstrate a special relationship is Murray.

Pis.5 Resp. at 32 (citing Murray, 378 F. Supp. 3d at 1243). However, Murray


makes no mention of a special relationship that would be akin to that alleged by

Plaintiffs. See Murray, 378 F. Supp. at 1245 ("As explained above, the 'legal

duties' that fall outside the rule generally arise out of statutory and common law


and often involve special relationships such as an attorney and client, physician


and patient, carrier and passenger, or a principal and agent."). Colonial contends


that the SAG does not refer to a "special relationship" under Georgia law, but "[t]o


the contrary, the SAG's allegations confirm that Plaintiffs have no relationship

with Colonial. Reply in Supp. ofDef. Colonial Pipeline Company's Mot. to

Dismiss ("Def.'s Reply") [Doc. 53] at 11. Plaintiffs concede this fact, stating that

"Plaintiffs are neither shippers nor Colonial's direct customers." Pis/ Resp. at 22.


         Accordingly, even if Plaintiffs established a legal duty owed by Colonial to

them, which they have not, the economic loss doctrine would bar their negligence


claim.




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       B. Count III - Alleged NCUDTPA Violation9

       Count HI of Plaintiffs' SAC asserts a claim for a violation of the

NCUDTPA, N.C. Gen. Stat. § 75-1.1 (a). SAG ^ 85-95. "In order to state a claim


under the [NC]UDTPA, a plaintiff must show (1) defendant committed an unfair or

deceptive act or practice; (2) the action in question was in or affecting commerce;


and (3) the act proximately caused injury to the plaintiff." Ellis v. Louisiana-

Pacific Corp., 699 F.3d 778, 787 (4th Cir. 2012) (quotations and citations omitted).

"[A] practice is unfair when it offends established public policy" and "when the

practice is immoral, unethical, oppressive, unscrupulous, or substantially injurious


to consumers." Eastover Ridge, L.L.C. v. Metric Constmctors, Inc., 533 S.E.2d


827, 832 (N.C. Ct. App. 2000) (citation omitted).

       Colonial argues that Plaintiffs' NCUDTPA claim fails as a matter of law

because Plaintiffs does not allege facts to satisfy the first element: an unfair or


deceptive act or practice. Def.'s Br. at 27-30. Plaintiffs contend that this element


is satisfied by their allegations that Colonial shut down the pipeline while it was

still functional and thereby increased the price of gasoline, SAG ^ 67, 86; violated

industry standards, id ^ 87; and failed to take reasonable measures to protect their




9 The parties agree that Plaintiffs' claim in Count III is governed by North Carolina
law.



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systems which foreseeably lead to a ransomware attack, id. ^ 64, 68. Pis.5 Resp.


at 37-40. Plaintiffs contend that these allegations show a violation of public policy

as well as an inequitable assertion of power sufficient to demonstrate a finding of


unfair practices. I(L; see also SAG ^ 88.


      The Court concludes that the SAG does not adequately allege an unfair or

deceptive act or practice under the NCUDTPA. "The determination as to whether


an act is unfair or deceptive is a question of law for the court." Dalton v. Camp,


548 S.E.2d 704, 711 (N.C. 2001). An unfair or deceptive act "covers five broad


categories of conduct: 1) unfair conduct, 2) deceptive misrepresentations, 3) anti-


competitive conduct, 4) certain per se violations of the statute, and 5) breaches of


contract occurring under aggravating circumstances." Exclaim Mktg., LLC v.


DirecTV, LLC, 134 F. Supp. 3d 1011, 1022 (E.D.N.C. 2015), aiTd, 674 F. App'x

250 (4th Cir. 2016). Here, only the first category of unfair conduct is at issue. The

NCUDTPA does not define unfair act and a precise definition is not possible.

Noble v. Hooters ofGreenville (NC), LLC, 681 S.E.2d 448, 452 (N.C. Ct. App.

2009) (citations and quotations omitted). An unfair or deceptive practice has been

held to be "one that possesses the tendency or capacity to mislead, or creates the


likelihood of deception." Id. (citation omitted). Additionally, North Carolina

courts recognize that an act is unfair if it "offends established public policy" or if


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"the practice is immoral, unethical, oppressive, unscrupulous, or substantially


injurious to consumers." Eastover Ridge, L.L.C., 533 S.E.2d at 832 (citations and


quotations omitted). Said differently, an unfair act occurs when one party


inequitably asserts its power or position over another. Id. (citations omitted).


      Plaintiffs' alleged unfair practices they attribute to Colonial of shutting

down the pipeline (of which there is no duty to maintain continual operation),

violating industry standards, and undertaking inadequate cybersecurity measures


do not meet the high standard of unethical or unscrupulous practices recognized as


unlawful under the NCUDTPA. Compare Gray v. N. Carolina Ins. Underwriting


Ass'n, 529 S.E.2d 676, 681 (N.C. 2000) (finding that an insurer's failure to

effectuate settlement agreements in good faith was an unfair act); Riese, 284 F.3d


at 540 (finding that exploiting a partnership agreement constituted an unfair act);

id at 538 (finding that a company's act of withholding information about the

shoddy work of a subcontractor from its general contractor was an unfair act).


      Plaintiffs fail to provide any legal authority that would support that any of

the allegations at issue equate to an unfair act under the NCUDTPA. The cases


Plaintiffs rely on are inapposite. Plaintiffs argue that data breaches satisfy the

unfairness prong of the Federal Trade Commission ("FTC") Act, which uses


language that closely resembles the NCUDTPA. Pis.' Resp. at 38-39 (citing FTC


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v. Wvndham Worldwide Corp, 799 F.3d 236, 247 (3d Cir. 2015)). However,

Wyndham is distinguishable. The FTC's complaint in Wyndham alleged that the

cybersecurity attack involved the exposure of consumers' personal information,


which is not alleged in this case. Wyndham, 799 F. 3 d at 240 ("Wyndham engaged

in unfair cybersecurity practices that, taken together, unreasonably and


unnecessarily exposed consumers' personal data to unauthorized access and


theft.").


       Plaintiffs also argue that Colonial's conduct violates the NCUDTPA because

it manifested "an inequitable assertion of power." Pis/ Resp. at 47-48 (citing


Gray, 529 S.E.2d at 681). See also Johnson v. Beverly-Hanks & Assocs., Inc., 400


S.E.2d 38, 42 (N.C. 1991) ("If a party engages in conduct that results in an

inequitable assertion of his power or position, he had committed an unfair act or


practice [under the NCUDTPA]."). The alleged conduct in Gray has no

relationship to the allegations in this case. In Gray, the court found an insurance


company that engages in a practice of "not attempting in good faith to effectuate


prompt, fair and equitable settlements of claims in which liability has become

reasonably clear" engages in unfair conduct injurious to claimants. Gray, 529


S.E.2d at 683-84. The shutting of the Colonial Pipeline is not equivalent to an

insurance company's misconduct by unfair dealing with its insured clients.


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Moreover, Defendants' alleged actions are not analogous to those acts that North


Carolina have classified as an inequitable assertion of power. See, e.g., Shepard v.


Bonita Vista Props., L.P, 664 S.E.2d 388, 395 (N.C. Ct. App. 2008), afTd, 675

S.E.2d 332 (2009) (finding the actions of the defendant RV park owner who

interfered with campground users' electricity were unfair).


      "[Plaintiffs'] allegations do not compel a conclusion of law that the

Defendants engaged in unfair or deceptive acts or practices." In re Siegert Props.,


Inc., No. 00-11184C-11G, 2001 WL 1699671, at *2 (Bankr. M.D.N.C. Mar. 7,


2001). Accordingly, the Court concludes that Plaintiffs have failed to state a claim

under the NCUDTPA, and GRANTS Colonial's motion to dismiss that count.

      C. Count IV - Breach Of Public Duty (O.C.G.A. § 51-1-7)


      Count IV of the SAC asserts a claim for breach of public duty pursuant to

O.C.G.A § 51-1-7, which states:


      Injury suffered in common with the community, though to a greater
      extent, will not give a right of action to an individual for the infraction
      of some public duty. In order for an individual to have such a right of
      action, there must be some special damage to him, in which the public
      has not participated.


Plaintiffs allege that "Defendants had a duty to keep the pipeline running while it

was operational." SAG ^ 98. Colonial argues that O.C.GA § 51-1-7 is an


enforcement mechanism that works in conjunction with existing law that already


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imposes a duty, but that Plaintiffs have failed to identify any duty owed by

Colonial to keep the pipeline running continuously. Def.'s Br. at 35 ("Worse, the


SAC still fails to identify any viable statutory or other authority that supplies the

purported public duty to Plaintiffs 'to keep the pipeline running.'" (quoting SAG ^

98)). Plaintiff fails to respond in any manner to this portion of Colonial's motion

to dismiss, indicating that it is unopposed. Kramer, 306 F. Supp. 2d at 1221. See


also Bute v. Schuller Infl, Inc, 998 F. Supp. 1473, 1477 (N.D. Ga. 1998)


("Because plaintiff has failed to respond to this argument or otherwise address this

claim, the Court deems it abandoned."). Moreover, as discussed above, Plaintiffs


have failed to allege any facts which would establish a duty to keep the pipeline

running or that the shutting down of the pipeline cause any special damage to

Plaintiffs. See Section III.A.l, infra. Colonial's motion to dismiss Count IV is

GRANTED.

      D. Count V- Public Nuisance


      Count V alleges a claim for public nuisance because Colonial "knowingly

deprived the public of access to gasoline." SAG ^ 102-106; see also Pis.' Resp. at


40, 42. "A nuisance is anything that causes hurt, inconvenience, or damage to


another and the fact that the act done may otherwise be lawful shall not keep it

from being a nuisance." O.C.G.A. § 41-1-1. "A public nuisance is one which


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damages all persons who come within the sphere of its operation, though it may


vary in its effects on individuals." O.C.G.A. § 41-1-2. Thus, a "public nuisance


requires 'some act or omission which obstructs or causes inconvenience to the


public in the exercise of rights common to all/" City of Coll. Park v. 2600 Camp

Creek, LLC, 293 Ga. App. 207, 209 f2008) (quoting Cox v. DeJamette, 104 Ga.

App. 664, 676-77 (1961)).

      Plaintiffs fail to demonstrate that they have a private or common right to

purchase retail gasoline in general, much less gasoline transported by Colonial.


Plaintiffs rely on City of College Park, for the proposition that "[s]ignificant

interference with 'the public health, the public safety, the public peace, the public

comfort or the public convenience' may support a finding of public nuisance."


Pis.' Resp. at 42 (citing City of College Park, 293 Ga. App. at 209 (quoting

RESTATEMENT (SECOND) OF TORTS, § 821B (2)(a)). However, in City of College

Park, the court based its ruling on the finding of an interference with a right

common to all, namely, the access to emergency services. 293 Ga. App. at 209


("The residents of and visitors to the Wynterbrook Apartments and other


complexes adjacent to Frontage Road receive the benefit of the City's fire and


police protection and other emergency services because they are members of the


public."). Indeed, even the comments of the Restatement recognize that a claim


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for nuisance must be supported by interference with a common law right.


RESTATEMENT (SECOND) OF TORTS § 821B, cmt. b. Here, Plaintiffs have failed to

provide factual or legal support that demonstrates they have a common right to the


uninterrupted flow of oil from Colonial (or otherwise show any common right).

The Court finds this case is more analogous to Cox, which held that:


      the landing and steps of a church, though allegedly so negligently
      constructed as to be hazardous to life and limb, do not constitute a
      public nuisance. We do not feel there is a right common to all of the
      public to use the steps and landing of a church of a particular
      denomination.


104Ga.App.at 677.


      Accordingly, because Plaintiffs have failed to allege that Colonial's

shutdown of its pipeline prevented the public from exercising a right common to

all, Colonial's motion to dismiss Count V is GRANTED. See Rivera v. Capmark


Fin., Inc, No. 1:12-CV-1097-CAP, 2013 WL 12248217, at *2 (N.D. Ga. Feb.28,


2013) (dismissing a public nuisance claim that failed to allege a right common to

all); Briggs & Stratton Corp. v. Concrete Sales & Servs., 29 F. Supp. 2d 1372,


1376 (M.D. Ga. 1998) (dismissing a claim for public nuisance because the plaintiff

"failed to show that any contamination of the PMI property caused by Briggs &

Stratton affected a common right of all members of the public—such as the right to




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clean air or clean water—or that the rights of more than a few individuals were


affected by the contamination.").


         E. Count VI - Unjust Enrichment


         Count VI of Plaintiffs' SAG asserts a claim for unjust enrichment. SAG

HIT 107-113.

         Unjust enrichment is an "alternative theory of recovery if a contract
         claim fails." Wachovia Ins. Servs., Inc. v. Fallen, 299 Ga. App. 440,
         682 S.E. 2d 657, 665 (Ga. Ct. App. 2009). Under Georgia law, "[tjhe
         theory of unjust enrichment applies when there is no legal contract and
         when there has been a benefit conferred which would result in an unjust
         enrichment unless compensated." Smith Serv. Oil, Co. v. Parker, 250
         Ga. App. 270 (Ga. Ct. App. 2001). Thus, the essential elements of this
         claim are that (1) a benefit has been conferred, (2) compensation has
         not been given for receipt of the benefit, and (3) the failure to so
         compensate would be unjust.


Hill v. Clark, No. 2:11-CV-0057-RWS, 2012 WL 787398, at *6 (N.D. Ga. Mar. 7,


2012).

         Colonial argues, in relevant part, that this claim should be dismissed


because Plaintiffs conferred no benefit upon Colonial. Def.'s Mem. at 36-37. In


response, Plaintiffs concede that the unjust enrichment claim is subject to

dismissal. Pis/ Resp. at 42 n.4. Indeed, Plaintiffs' failure to allege that a benefit


was conferred on Colonial by Plaintiffs is fatal to their unjust enrichment claim.

See, e.g., Parm v. Nat'l Bank ofCal., N.A., 242 F. Supp. 3d 1321, 1335 (N.D. Ga.


2017) ("Plaintiff fails to allege that any portion of the transaction fees came from
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her."). In fact, the SAC makes clear that Plaintiffs were "downstream customers,"


purchasing from retailers rather than from Colonial. SAG ^112. Colonial's


motion to dismiss Count VI is GRANTED.

      F. Count II - Declaratory Judgment


      Count II of Plaintiffs' SAG seeks a declaration that "Defendants owe a duty


to Plaintiffs and to the members of the Class to use adequate cybersecurity

measures in order to keep the Colonial Pipeline secure and operational and


Defendants continue to breach this duty by failing to employ reasonable measures


to protect its systems (and, thus, the Pipeline)." Id. ^ 80. Plaintiffs seek injunctive

relief requiring Colonial to employ adequate security protocols. Id ^ 81. The

Court concludes that Plaintiffs' claim for declaratory judgment should be

dismissed because each substantive claim in the SAC fails and Plaintiffs have,

therefore, failed to present a substantial controversy between the parties. This


Court agrees.


      Under both federal and Georgia law, a declaratory judgment is available
      only in a case of "actual controversy." See 28 U.S.C. § 2201 (a);
      O.C.G.A. § 9-4-2(a). The issue is "whether the facts alleged, under all
      the circumstances, show that there is a substantial controversy, between
      parties having adverse legal interests, of sufficient immediacy and
      reality to warrant the issuance of a declaratory judgment." Md. Cas.
      Co. v. Pac. Coal & Oil Co, 312 U.S. 270, 273 (1941). Because the
       facts alleged in the complaint fail to state a claim for relief, they also
      fail to show that there is a substantial controversy between the parties,
      and Plaintiff is not entitled to declaratory relief. See Cooke v. BAG
                                          28
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      Home Loans Servicing, LP, No. 1:11-CV-2126-TWT, 2011 WL
      4975386 at *2 (N.D. Ga. Oct. 18, 2011) (dismissing claim for
      declaratory judgment when complaint failed to state claim for relief);
      see also Giles v. SunTmst Mortg. Inc, No. 1:13-CV-2992-RWS, 2014
      WL 2779527, at *3 (N.D. Ga. June 19, 2014) ("Because Plaintiffs
      substantive claims are without merit, he is not entitled to the
      [declaratory] relief he seeks."). Accordingly, Plaintiffs claim for
      declaratory relief is likewise subject to dismissal.

Taylor v. Opteum Fin. Servs., LLC, No. 1:18-CV-3896-ELR-JKL, 2018 WL


6726056, at *7 (ND. Ga. Oct. 25, 2018), R&R adopted, No. L18-CV-03896-ELR,

2018 WL 6725556 (N.D. Ga. Nov. 26, 2018). Accordingly, Colonial's motion to

dismiss Count H is GRANTED.

IV. CONCLUSION

      For the foregoing reasons, it is hereby ORDERED that Defendant Colonial

Pipeline Company's Motion to Dismiss [Doc. 44] is GRANTED, and Plaintiffs'

Second Amended Class Action Complaint [Doc. 40] is DISMISSED. It is further

ORDERED that Defendant Colonial Pipeline Company's Motion to Strike Class

Allegations [Doc. 45] is DENIED AS MOOT.

      The Clerk is DIRECTED to CLOSE this case.10



10 Plaintiffs also name "Does 1-100" as Defendants, describing them as
"subsidiaries and/or affiliates of the Defendant Colonial Pipeline Company that
may be responsible for the conduct alleged herein." SAG D 23. Fictitious-party
pleading is generally not permitted in federal court. Richardson v. Johnson, 598
F.3d 734, 738 (11th Cir. 2010). However, courts "have created a limited exception
to this rule when the plaintiffs description of the defendant is so specific as to be
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      IT IS SO ORDERED this //rt:day of June 2022.




                                       MARK H. COHEN
                                       United States District Judge




'at the very worst, surplusage.'" Id (quoting Dean v. Barber, 951 F.2d 1210,
1215-16 (11th Cir. 1992)). Because Plaintiffs have not described the fictitious
parties named in the Second Amended Complaint with any particularity, the
fictitious defendants are also DISMISSED from this action. Dean, 951 F.2d at
1215-16; see also See Plant v. Doe, 19 F. Supp. 2d 1316, 1320 (S.D. Fla. 1998)
(stating that "a district court does not have jurisdiction over unnamed defendants
unless they have been served with a summons and a copy of the complaint.")
(citations omitted).


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